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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                      WEST PALM BEACH DIVISION

                                                  CASE NO.

  NE 32ND STREET, LLC, as agent for
  The Frank Sawyer Revocable Trust,


              Plaintiff,

  v.

  UNITED STATES OF AMERICA,

              Defendant.

  ________________________________/

                                               COMPLAINT

              Plaintiff, NE 32nd Street LLC (“Plaintiff”), as agent for the Frank Sawyer Revocable

  Trust (“Sawyer”), files its Complaint against the United States of America (“United States”) and

  alleges:

                                      JURISDICTION AND VENUE

              1.      This action relates to quieting title to property (“MSA 686” and “MSA 687” or

  collectively, the “Property”) by determining the existence and validity of two spoil deposit grants

  made by Sawyer’s predecessors in interest in favor of the United States.

              2.      This Court has subject matter jurisdiction under the Quiet Title Act, 28 U.S.C. §

  2409a and 28 U.S.C. § 1346(f).

              3.      The Property comprises approximately five (5) acres of land in Palm Beach

  County, Florida.

              4.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e).


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                             I.     SUMMARY OF SAWYER’S OWNERSHIP

              5.     Sawyer and its predecessors in interest have held continuous record title to the

  Property since 1945 and 1969 respectively.

              6.     Sawyer dereigns its title from the following deeds:

              (a)    Warranty Deed from Jack Marquesse to Frank Sawyer dated April 1,

              1969 and recorded on April 22, 1969 in Official Records Book 1717, Page 1335

              of the Public Records of Palm Beach County, Florida; Exhibit “A”; and

              (b)    Deed from Bessemer Properties Incorporated to Frank Sawyer dated July

              5, 1945 and recorded on July 26, 1945 in Deed Book 724, Page 297 of the Public

              Records of Palm Beach County, Florida. Exhibit “B”.

                       II.        SUMMARY OF THE UNITED STATES’ CLAIMS

              7.     On June 7, 1937, George W. Harvey, as Trustee of the George W. Harvey Trust

  agreed to “furnish suitable areas [on MSA 687] for the deposit of dredged material in connection

  with the work and subsequent maintenance …” of the Intracoastal Waterway (“MSA 687

  Grant”). Exhibit “C”.

              8.     On April 4, 1938, Peter Brodt agreed to “furnish suitable areas [on MSA 686] for

  the deposit of dredged material in connection with the work and subsequent maintenance …” of

  the Intracoastal Waterway (“MSA 686 Grant”). Exhibit “D”.

                                      III.   MSA 687 DISCLAIMER

              9.     On June 29, 1981, the United States explicitly remised, released and forever

  quitclaimed all right, title and interest, claim and demand, which the United States had in MSA

  687 under the MSA 687 Grant via Quitclaim Deed (“MSA 687 QCD”). Exhibit “E”.




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              10.    Although executed and tendered with all of the formalities required under Florida

  law, the MSA 687 QCD was lost prior to its recordation in the Public Records of Palm Beach

  County, Florida.

              11.    On June 29, 2015, the United States acknowledged that MSA 687 was conveyed

  to Sawyer in 1981 under the MSA 687 QCD. Exhibit “F”; see also ACOE Real Estate Map.

  Exhibit “G”.

              12.    Because the MSA 687 QCD was never recorded in the Public Records of Palm

  Beach County, Florida, the MSA 687 Grant remains as a cloud on the title to MSA 687.

              13.    Sawyer has attempted, on several occasions, to have the United States re-execute

  and deliver the MSA 687 QCD or deliver a certified copy of it so it could be recorded in the

  Public Records of Palm Beach County, Florida, removing the cloud on the title to MSA 687.

              14.    The United States refuses to honor Sawyer’s requests and the cloud on MSA

  687’s title created by the MSA 687 Grant remains.

                    IV.   ENVIRONMENTAL PERMITTING OF THE PROPERTY

              15.    On December 5, 2013, the United States issued Permit Number SAJ-2007-03585

  (“ACOE Permit 3585”), Exhibit “H”, to Sawyer which described the project to be constructed

  on MSA 686 and MSA 687 as:

              Project Description: The permittee proposes to fill approximately C.021 acres of
              mangrove wetlands (0.018 acres from the house pad and 0.03 acres from the
              boardwalk) and secondarily impact 0.08 acres of mangroves for the construction
              of a single family home and docking facility. The project consists of the
              following: 1) fill 0.018 acres of wetlands, 2) construct a 4-foot by 77-foot
              boardwalk through mangroves, 3) construct a 4-foot by 77-foot access walkway,
              and 4) construct a 6-foot by 20-foot terminal platform for mooring. No impacts
              are authorized to the remaining 2.16 acres of mangroves remaining onsite. The
              project area is approximately 4,92 acres in size and contains 2.17 acres of
              mangrove wetlands. The work described above is to be completed in accordance
              with the ten pages of drawings and attachments A through E affixed at the end of
              this permit instrument.


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              16.    Because MSA 686 and MSA 687 are largely comprised of environmentally

  sensitive areas, including wetlands, mangroves, habitat, and the like, ACOE Permit 3585 was

  brimming with conditions designed to protect and preserve those areas as well as numerous

  requirements for compensatory mitigation for losses due to the unavoidable environmental

  impacts.

              17.    Special Condition No. 5 required that the “onsite compensatory mitigation areas

  be preserved in perpetuity in accordance with the Conservation Easement Special Condition of

  this permit.”

              18.    Special Condition No. 11, which addressed Special Condition No. 5, states that:

              11.    Conservation Easement;          The Permittee shall preserve the areas
              referenced in the Compensatory Mitigation Special Condition which includes
              2,16 acres of wetlands in perpetuity by recording a conservation easement within
              the boundaries and location annotated c-n the attached permit drawing 7 of 10,
              and in accordance with procedures outlined in Special Condition No. 1 of the
              attached Department of Environmental Protection (DEP) permit and the following
              conditions:

                  a. Within 30 days, from the date of initiating the authorized work the
              permittee shall submit to the Corps a copy of the recorded conservation easement
              document with exhibits (including legal description and sketch).

                   b These natural preserve areas will not be disturbed by any dredging, filling,
              land clearing, agricultural activities, planting, or other construction work
              whatsoever except as required or authorized by this permit. The Permittee agrees
              that the only future utilization of the preserved areas in question will be as a
              purely natural area. Any deviation from the established conservation easement
              cannot be performed without a modification to this permit instrument.          The
              ability to modify or remove this conservation easement is neither implied nor
              guaranteed,      If the conservation easement is removed for any reason, the
              Permittee shall provide appropriate mitigation to compensate for functional
              wetland loss.

              19.    The Conservation Easement, which encompasses MSA 686 and MSA 687, was

  executed on May 22, 2013 and recorded on June 11, 2013 in Official Records Book 26088 at

  Page 0861 of the Public Records of Palm Beach County, Florida.


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              20.     Special Condition No. 12 provides for the perpetual protection and preservation of

  the Property and requires that the environmentally sensitive areas be maintained in “their natural

  state”, which would be accomplished by the Conservation Easement, amongst other things.

  Specifically, Special Condition No. 12 states:

              12. Perpetual Conservation: The Permittee shall maintain the areas referenced in
              the Compensatory Mitigation Special Condition in their natural stare in
              perpetuity. The Permittee agrees that the only future utilization of these areas will
              be as a purely natural area and the following uses and/or activities will be
              prohibited except as required or authorized by this permit:

                   a. Construction or placing buildings, roads, signs, billboards or other
              advertising, utilities or other structures On or above the ground.      Elevated
              boardwalks, hiking trails and camping areas will be permitted as long as they do
              not involve any of the other prohibited uses listed below;

                 b. Dumping or placing soil or other substance or material as landfill or
              dumping or placing of trash, waste or unsightly or offensive material.

                    c. Removal or destruction or trees, shrubs, or other vegetation.

                  d. Excavation, dredging or removal of loam, peat, gravel, soil, rock, or other
              material substance in such a manner as to affect the surface.

                  e. Surface use, except for purposes that permit the land or water area to
              remain predominantly in its natural condition.

                   f. Activities detrimental to drainage, flood control, water conservation,
              erosion control, soil conservation, or fish and wildlife habitat preservation.

                    g. Acts or uses detrimental to such retention of land or water areas,

                   h. Acts or uses detrimental to the preservation of the structural integrity or
              the physical appearance of sites or properties of historical, architectural, or
              cultural significance.

              21.     Special Condition No. 13 also addressed the protection and preservation of the

  Property by requiring that only clean fill be used for the entire project, free from “trash, debris,

  automotive parts, asphalt, construction materials, concrete block with exposed reinforcement

  bars, and soils contaminated with any toxic substances, in toxic amounts in accordance with

  Section 307 of the Clean Water Act.”

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              22.    On July 11, 2013, the State of Florida issued Environmental Resource Permit No.

  XX-XXXXXXX-004 (“ERP 004”), Exhibit “I”, to Sawyer which described the project to be

  constructed on MSA 686 and MSA 687 as:

              AUTHORIZATIONS
              Project Description

              The permittee is authorized to (1) till 772.73 ft2 (0.018 acres) of wetlands for the
              construction of a single family residence. (2) install a 4-ft by 302-ft (1.208 ft2)
              boardwalk through mangroves, (3) install a 428 ft2 dock consisting of a 4-foot by
              77-foot (308 ft2) access walkway and a 6-foot by 20-foot (120 ft2) terminal
              platform at the terminal end of the boardwalk for mooring of a single vessel.
              (4) plant 50 mangroves for mitigation purposes, and (5) place 94.037 ft2 (2.16
              acres) of wetlands under a conservation easement for mitigation purposes, located
              in the Intracoastal Waterway, Class III Waters, Authorized activities are depicted
              on the attached exhibits.

              To offset unavoidable impacts that will occur from these authorized activities, the
              permittee shall (1) place 94.037 ft2 (2.16 acres) of onsite wetlands under a
              conservation easement. (2) plant 50 red mangroves (Rhizophora mangle) 1 gallon
              on 3 foot centers, (3) plant 20 sea oxeye 1 gallon on 3' centers. (4) plant 20 beach
              sunflower 1 gallon on 3' centers (a 0.05 ac. planting area within the 2.16 ac.
              conservation easement), and (5) remove 0.22 acres of exotic vegetation located
              within the conservation easement area.

              Construction shall be conducted via the uplands and by shallow draft boats with a
              fully loaded draft of no more than 36-inches. The construction boats shall operate
              within waters of sufficient depth to preclude bottom scouring and prop dredging.
              All construction equipment tools and materials shall be transported to and from
              the site via barge and upland roadways and all equipment/tools and materials shall
              be stored on the barge and uplands. Staked and or weighted floating turbidity
              curtains, extending to within one foot from the bottom shall be utilized around the
              project area to ensure that any turbidity resulting from construction activities will
              be contained within the project boundaries. All waterbodies. including the
              adjacent submerged aquatic vegetation outside the specific limits of construction
              authorized by this permit shall be protected from erosion, siltation. sedimentation,
              and or scouring. The standard manatee conditions shall be adhered to during all in
              water work.

              The project described above may be conducted only in accordance with the terms,
              conditions and attachments contained in this permit. The issuance of this permit
              does not infer, nor guarantee, nor imply that future permits or modifications will
              be granted by the Department.




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              23.   Like ACOE Permit 3585, ERP 004 emphasized the environmental sensitivity of

  MSA 686 and MSA 687 and required the same measures of protections and mitigation, including

  the Conservation Easement.

              24.   ACOE Permit 3585 and ERP 004 are active and unexpired.

              25.   Sawyer has been and continues to be damaged by the clouds on title to MSA 686

  and MSA 687 created by the MSA 686 and MSA 687 Grants, which renders those properties

  unmarketable.

              26.   Plaintiff has retained the firm of Berger Singerman to prosecute this action and is

  responsible to pay their attorneys’ fees and costs.

                                        COUNT I – QUIET TITLE
                                             (MSA 687)

              27.   This is an action to quiet title by determining the existence and validity of a spoil

  deposit grant.

              28.   Plaintiff incorporates Paragraphs 1-25 as if set forth in full herein.

              29.   The MSA 687 Grant ceased to legally exist when it was voluntarily terminated by

  the United States under the MSA 687 QCD.

              30.   Notwithstanding, the MSA 687 Grant continues to exist of record             until an

  instrument is put of record evidencing termination.

              31.   The United States has refused to provide such instrument and until it does and it is

  placed of record, Sawyer’s title to MSA 687 is clouded by the MSA 687 Grant.

              WHEREFORE, Plaintiff requests entry of a judgement quieting title to MSA 687 in

  Plaintiff and ordering Defendant to expeditiously produce an instrument appropriate for

  recordation terminating and cancelling the MSA 687 Grant and releasing MSA 687 from all




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  burdens and obligations created thereunder, along with other relief determined just and

  appropriate.

                                       COUNT II – QUIET TITLE
                                             (MSA 686)

              32.   This is an action to quiet title by determining the existence and validity of a spoil

  deposit grant.

              33.   Plaintiff incorporates Paragraphs 1-25 as if set forth in full herein.

              34.   The United States Department of the Army Corps of Engineers was designated to

  act for the Secretary of the Army in issuing ACOE Permit 3585, thus the act of the District

  Engineer in doing so was an act of a federal official charged with the authority to bind the federal

  government.

              35.   The Conservation Easement was an integral part of ACOE Permit 3585 and the

  United States specifically intended to require and did require and obtain the Conservation

  Easement as a condition precedent to the issuance of ACOE Permit 3585.

              36.   By recognizing the environmental sensitivity of MSA 686 and the intentional and

  overt acts of requiring performance of the special conditions under ACOE Permit 3585 and

  accepting the benefit of the Conservation Easement, the United States committed an act wholly

  inconsistent with its future use and enjoyment of the MSA 686 Grant.

              37.   Thus, the United States clearly and unequivocally evidenced the intent to abandon

  and did in fact abandon the MSA 686 Grant by issuing ACOE Permit 3585 because of the

  incompatibility and mutual exclusivity between the two.

              38.   Moreover, the rights granted under the MSA 686 Grant can no longer be

  exercised due to futility and impossibility in that the limited right to deposit spoil was to be

  exercised only in areas that were suitable for disposal.


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              39.   Suitable is defined as having the qualities that are right, needed, or appropriate for

  something.

              40.   Even if it was suitable at one time, MSA 686 is no longer suitable due to changed

  circumstances caused by: a) the changes in federal and state law regulating environmental and

  species protection; b) the requirements of permitting the complete annihilation of the

  environmentally sensitive areas within MSA 686; c) issuance of ACOE Permit 3585, ERP 004

  and the conditions therein specifically designed to protect and preserve the environmentally

  sensitive areas within MSA 686; d) recordation of Conservation Easement; and e) diminished

  disposal area resulting from the MSA 687 QCD (reducing the total disposal area from

  approximately five (5) acres (MSA 686 and MSA 687 combined) of MSA 686 approximately

  one (1) acre).

              41.   In fact, the Florida Inland Navigational District, the agency responsible for

  dredging the Waterway stated in their Long-Range Dredged Material Plan for MSA 686 was not

  suitable for deposit of soil because it was undersized, comprised mainly of mangroves and water,

  provided good habitat, and obtaining the requisite permits to deposit would be difficult. Exhibit

  “J”.

              42.   The changed circumstances make it futile, impractical, impossible and against the

  agency’s own findings to deposit spoil under the MSA 686 Grant without: a) obtaining permits

  and authorizations from jurisdictional authorities; b) violating the terms and conditions of ACOE

  Permit 3585 and ERP 004; c) violating the terms and conditions of the Conservation Easement;

  d) polluting the adjacent privately owned property with the leeching and seeping toxins beyond

  the physical boundaries of MSA 686; and e) violating federal and state laws.




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              WHEREFORE, Plaintiff requests entry of a judgment quieting title to MSA 686 in

  Plaintiff and ordering Defendant to expeditiously produce an instrument appropriate for

  recordation terminating and cancelling the MSA 686 Grant and releasing MSA 686 from all

  burdens and obligations created thereunder, along with other relief determined just and

  appropriate.

                                         JURY TRIAL DEMAND
                    Plaintiff demands a jury trial as to all issues so triable.

  Dated: May 20, 2016                                 Respectfully submitted,

                                                      BERGER SINGERMAN
                                                      Attorneys for Plaintiff 32nd Street, LLC as agent
                                                      for the Frank Sawyer Revocable Trust


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